Case 2:04-cv-02292-.]DB-dkv Document 26 Filed 07/01/05 Page 1 of 4 Page|D 31

IN THE UNITED STATES DISTRICT coURT w ay"" "'“'”"'°‘°
FOR THE WE§r§Snri§§;Ts§§l/§:STI§§ TENNESSEE 05 JUL _ l AH 73 57
RODNEY LoUIs HARPER, UMW?SU§£§O%BT
Plaintiff, wm OF mt MM
v. No. 04-2292 B
THE FRESH MARKET, INC.,
Defendant.

 

SECOND ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE DISMISSED
FOR FAILUR_E TO PROSECUTE

 

This lawsuit Was brought by the B s_e Plaintiff, Rodney Louis Harper, on April 23, 2004
alleging employment discrimination On July 6, 2004, the Defendant, The Fresh Market, lnc. ("Fresh
Market"), moved for dismissal or, in the alternative, for an order staying this matter pending
arbitration When the Plaintiff failed to respond to the motion within the time for such response, s_e_e
LR7.2(a)(2), Local Rules of the U. S. Dist. Ct. for the W. D. of Tenn. ("Local Rules")) (responses
to Rule 12(b) motions must be filed within 30 days of service of the motion), the Court entered an
order on August 17, 2004 directing Harper to show cause Why this lawsuit should not be dismissed
for failure to prosecute Upon the Plaintiff‘s filing of a response to the order on August 27, the
Court, in an order entered September 23, 2004, denied the motion to dismiss and granted the request
to stay further proceedings and compel arbitration The Court directed in part as follows:

Based on the Plaintiff‘s failure to satisfy his burden of demonstrating, as he must, that

this matter is unsuitable for arbitration, §§ _GM, 500 U.S. at 26, 1 1 1 S.Ct. at 1652,

the Defendant‘s motion to stay this matter and compel arbitration is GRANTED. ln

so ruling, the Court assumes the parties have completed the first two steps in the

dispute resolution process as set forth in the Agreement, that is, consultation and
negotiation in good faith and mediation If these prerequisites to arbitration have not

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with Rule 58 and/or 79{3) FFtCP on ° ’

Case 2:O4-cv-O2292-.]DB-dkv Document 26 Filed 07/01/05 Page 2 of 4 Page|D 32

occurred, the parties are ORDERED to commence the process within fifteen (15)

days of the entry of this order. The parties are further directed to advise the Court

within thirty (30) days following resolution of the dispute if it occurs during the

negotiation or mediation phases or, if not, within thirty (3 0) days after final

disposition of arbitration proceedings The Defendant's alternative request for
dismissal is DEN[ED.
(Order Denying Def.'s Mot. to Dismiss, Granting Def.'s Mot. to Stay Further Proceedings and
Compel Arbitration, and Denying as Moot Def.'s Mot. to Strike at 4.)

On February 25, 2005, the Defendant again moved to dismiss this matter, alleging that the
Plaintiff had completely failed to comply with the Court’s September 2004 order. Fresh Market first
advised the Court that the parties had not in fact completed the first two steps in the dispute
resolution process as set forth in the Agreement, that is, consultation and negotiation in good faith
and mediation They had, however, engaged in mediation sponsored by the Equal Employment
Opportunity Commission ("EEOC"). On September 27, 2004, counsel for the Defendant submitted
to the Plaintiff a letter request for a negotiation meeting to take place at counsel's offices on October
5, 2004. After a two-hour meeting, no resolution was reached

At the conclusion of the failed negotiations, counsel inquired of Harper as to whether he
wished to bypass the mediation process as contemplated by the employment agreement and submit
the matter directly to arbitration, as mediation albeit in connection with the EEOC, had already been
conducted The request was confirmed in a letter from counsel to Harper dated October 21, 2004.
In the correspondence, attorney Robert Meyers noted that the Plaintiff "told [him] that [he] needed
some time to consult with others but that [Harper] understood [his] obligations to timely respond

regarding the mediation step." (Def`.'s Mem. in Supp. of its Second Mot. to Dismiss, Ex.) Counsel

further avers that he "saw Harper at an unemployment compensation hearing on December 21, 2004,

Case 2:O4-cv-O2292-.]DB-dkv Document 26 Filed 07/01/05 Page 3 of 4 Page|D 33

which was terminated When Harper refused to 'swear or affirm to tell the truth.' Harper did not
discuss this case With The Fresh Market's counsel at that time. " (Def.'s Mem. in Supp. of its Second
Mot. to Dismiss at 3 n.4.) According to the Defendant, Harper has failed to respond to its request
or to communicate in any manner whatever. Nor has he sought to further mediate this matter or
engage in the arbitration process. Moreover, the Plaintiff has not responded to the instant dispositive
motion, even though the deadline for such response has long passed. §g LR7.2(a)(2), Local Rules.

Based on the assertions of the Defendant, the Court hereby orders the Plaintiff`, within fifteen
(15) days of the entry hereof, to show cause why this lawsuit should not be dismissed for failure to
prosecute pursuant to Fed. R. Civ. P. 41. The Plaintiff is admonished that failure to respond in a

timely manner to this order will result in dismis of this action with prejudice

  
   
  

elk
IT IS SO ORDERED this SU day o , 2005.

 

 

J A L BREEN \
_ir D sTA'rEs DisTRrCT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02292 Was distributed by faX, mail, or direct printing on
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EssEE

 

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Honorable .l. Breen
US DISTRICT COURT

